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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                      Case No. 18-cv-80176

  IRA KLEIMAN,
  as personal representative of
  the estate of David Kleiman,
  and W&K Info Defense
  Research LLC

          Plaintiffs,

  v.

  CRAIG WRIGHT,

          Defendant.
                                                  /

                                  NOTICE OF ENTRY OF PARTY

          Defendant gives notice of entry of party of Mediator, Thomas E. Scott of Cole, Scott

  & Kissane, Building, 9150 South Dadeland Boulevard, Suite 1400, Miami Florida 33156 in

  support of filing DE 627.




 Dated January 12, 2021

                                                 Respectfully submitted,

                                                  s/ Andres Rivero
                                                  Andres Rivero, Esq.
                                                  Amanda McGovern, Esq.
                                                  Zaharah Markoe, Esq.
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                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on January 12, 2021 I electronically filed the foregoing

  document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document

  is being served this day on all counsel of record via transmission of Notices of Electronic Filing

  generated by CM/ECF.

                                                    s/ Andres Rivero
                                                    Andres Rivero
